 1                                                                       The Honorable Karen A. Overstreet
                                                                                                 Chapter 11
 2
                                                                        Hearing Location: Seattle, Rm 7206
 3                                                           Hearing Date: June 17, 2011 (on shortened time)
                                                                                    Hearing Time: 9:30 a.m.
 4                                                            Response Date: June 17, 2011 (time of hearing)
 5
 6
 7
 8
 9                          UNITED STATES BANKRUPTCY COURT
10                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
11
      In re
12                                                      Case No. 10-18668-KAO
      FREDERICK D. BERG
13                                                      TRUSTEE’S MOTION FOR APPROVAL TO
14                            Debtor.                   SELL GOLF CART

15
                                            I.      RELIEF REQUESTED
16
17             Diana K. Carey (“Trustee”), Chapter 11 Trustee for the Debtor, through her undersigned

18   counsel, pursuant to 11 U.S.C. § 363, moves the Court for an Order approving the sale of the golf cart

19   described herein on the terms contained in the Declaration of Eric D. Orse (“Orse Decl.”).

20                                        II.     STATEMENT OF FACTS

21             1.       On July 27, 2010, Debtor Frederick D. Berg filed a petition under Chapter 11 of the
22   United States Bankruptcy Code.
23             2.       On August 19, 2010, an order was entered appointing Trustee over the Bankruptcy
24   Estate.
25             3.       Since appointment, the Trustee and her advisors have diligently searched for assets of
26   the Bankruptcy Estate. Through these efforts, the Trustee has possession of a 2002 Ford SD “golf
27   cart”, VIN #1FABP225X20101600 (the “Asset”).
28                                                                                                      Law Offices

     MOTION FOR APPROVAL TO SELL                                             KARR TUTTLE CAMPBELL
                                                                                                                 




                                                                                              A Professional Service Corporation
     GOLF CART - 1
                                                                            1201 Third Avenue, Suite 2900, Seattle, Washington 98101-3028
     #802226 v1 / 40572-001                                                       Telephone (206) 223-1313, Facsimile (206) 682-7100




      Case 10-18668-TWD             Doc 724      Filed 06/08/11   Ent. 06/08/11 16:15:27                         Pg. 1 of 3
 1            4.        The Trustee believes that quickly and efficiently liquidating the Asset is in the best
 2
     interest of the estate.
 3
              5.        The Trustee has negotiated the sale of the Asset to ABC Bus, Inc. (the “Purchaser”)
 4
 5            6.        The Trustee received multiple offers for the Asset and the Purchaser was willing to

 6   pay roughly 40% more for the Asset than other potential buyers.

 7                                        III.    STATEMENT OF ISSUES

 8            Whether the Court should enter an Order permitting the Trustee to sell the Asset free and clear

 9   of liens pursuant to 11 U.S.C. § 363?
10
                                                 IV.    AUTHORITY
11
              This Motion is brought pursuant to Fed. R. Bankr. P. 9013, Local Rule 9013, 11 U.S.C. § 363
12
     and 11 U.S.C. § 105. Bankruptcy Code § 363(b) generally provides that the Trustee, after notice and
13
     a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the
14
     Bankruptcy Estate. § 363(f) provides that the Trustee may sell property under subsection (b) free and
15
16   clear of interests if (1) applicable non-bankruptcy law permits sale of such property free and clear of

17   such interest; (2) such entity consents; and (3) such interest is a lien and the price at which such

18   property is to be sold is greater than the aggregate value of the liens on such property. Washington

19   state law permits a general receiver to sell assets of the receivership estate free and clear of liens. See

20   RCW §7.60.260.           Additionally, the Trustee does not believe that there are any liens or other

21   encumbrances on the Asset. As such, the Trustee should be permitted to sell the Asset free and clear

22   of liens. If any such liens exist, they shall attach to the proceeds from the sale of the Asset.

23            The Trustee proposes to use the proceeds from the sale contemplated hereby in the normal

24   course or as otherwise approved by the Court.

25                                               V.    CONCLUSION

26            For the reasons stated above, the Trustee respectfully requests that the Court enter an order
27   approving the sale of the Asset free and clear of all liens, claims, and encumbrances (if any) and that
28                                                                                                      Law Offices

     MOTION FOR APPROVAL TO SELL                                             KARR TUTTLE CAMPBELL
                                                                                                                 




                                                                                              A Professional Service Corporation
     GOLF CART - 2
                                                                            1201 Third Avenue, Suite 2900, Seattle, Washington 98101-3028
     #802226 v1 / 40572-001                                                       Telephone (206) 223-1313, Facsimile (206) 682-7100




      Case 10-18668-TWD             Doc 724      Filed 06/08/11   Ent. 06/08/11 16:15:27                         Pg. 2 of 3
 1   such liens, claims, and encumbrances (if any), shall attach with the same priority as they currently
 2
     exist to the net proceeds received by the Trustee from the purchaser of the Asset.
 3
              DATED this 6th day of June, 2011.
 4
 5
 6                                                KARR TUTTLE CAMPBELL
 7
 8
                                                  By:
 9                                                      George S. Treperinas, WSBA #15434
10                                                      Stephen S. McKay, WSBA #42046
                                                        Attorneys for Diana K. Carey, Chapter 11 Trustee
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                                                                   Law Offices

     MOTION FOR APPROVAL TO SELL                                          KARR TUTTLE CAMPBELL
                                                                                                              




                                                                                           A Professional Service Corporation
     GOLF CART - 3
                                                                         1201 Third Avenue, Suite 2900, Seattle, Washington 98101-3028
     #802226 v1 / 40572-001                                                    Telephone (206) 223-1313, Facsimile (206) 682-7100




      Case 10-18668-TWD         Doc 724     Filed 06/08/11     Ent. 06/08/11 16:15:27                         Pg. 3 of 3
